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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

  UNITED STATES OF AMERICA

  vs.                                                    CASE NO. 3:17-cr-147-J-32PDB

  MIGUEL PACHECO-LOPEZ


                JUDGE CORRIGAN'S STANDING ORDER PERTAINING TO
             DISCOVERY, MOTIONS, HEARINGS, CONFERENCES AND TRIAL

                      I. HEARINGS, CONFERENCES AND TRIAL

        A.     DISCOVERY MOTIONS TO BE FILED BY: SEPTEMBER 15, 2017

               (Any necessary hearing will be set by separate notice)*

        B.     DISPOSITIVE MOTIONS, MOTIONS TO SUPPRESS AND OTHER NON-
               DISCOVERY MOTIONS ARE TO BE FILED BY: SEPTEMBER 15, 2017

               (Any necessary hearings will be set by separate notice)

        C.     STATUS CONFERENCE*:
               Date: SEPTEMBER 18, 2017   Time: 4:00 P.M.
               Courtroom Number:  10D (10th Floor)

               ALL CHANGE OF PLEA HEARINGS SHALL BE SCHEDULED AS SOON
               AS POSSIBLE BEFORE THE ASSIGNED MAGISTRATE JUDGE

        D.     Trial Term Commencing On:
               Date: OCTOBER 2, 2017 Time: 9:00 A.M.
               Courtroom Number: 10D, (10th Floor)
               300 North Hogan Street, Jacksonville, Florida

              *Defendants are not required to be present at Discovery Hearings or
        Status Conferences.

                 II. RULES - DISCOVERY UNDER STANDING ORDER

        Defendant(s) may accept the following discovery by filing with the Court a Notice of

  Acceptance of General Discovery within ten (10) working days hereof, or as otherwise
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  directed by the Court. Within the time frame established in Part I of this Order, any party

  may file additional motions concerning discovery matters not covered by this Order or to

  seek a revision of the discovery deadlines established in this Order.

        A.     Within ten (10) working days from the filing of the Notice of Acceptance of

               General Discovery, the Government shall disclose to the defendant(s) and

               make available for inspection, copying, or photographing:

               1.     any relevant written or recorded statement made by the defendant(s),

                      or copies thereof, within the possession, custody or control of the

                      Government, the existence of which is known, or by the exercise of

                      due diligence may become known, to the attorney for the Government;

                      and

               2.     that portion of any written record containing the substance of any

                      relevant oral statement made by the defendant whether before or after

                      arrest in response to interrogation by any person then known to the

                      defendant to be a government agent;

               3.     the substance of any other relevant oral statement, if the Government

                      intends to use that statement at trial (including for impeachment),

                      made by the defendant(s) whether before or after arrest in response

                      to interrogation by any person then known to the defendant(s) to be a

                      Government agent; and

               4.     recorded testimony of the defendant(s) before a grand jury which

                      relates to the offense charged; and

               5.     books, papers, documents, photographs, tangible objects, buildings,




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                     or places or copies or portions thereof, which are within the

                     possession, custody or control of the Government, which:

                     a.    are material to the preparation of the defense; or

                     b.    are intended for use by the Government as evidence in its case

                           in chief; or

                     c.    were obtained from or belong to the defendant; and

              6.     results or reports of physical or mental examinations, and scientific

                     tests or experiments, or copies thereof, which are within the

                     possession, custody or control of the Government, the existence of

                     which is known, or by the exercise of due diligence may become

                     known, to the attorney for the Government, which:

                     a.    are material to the preparation of the defense; or

                     b.    are intended for use by the Government as evidence in its case

                           in chief.

        B.    No later than twenty (20) working days before trial (unless this deadline is

              modified upon good cause shown) the government should comply with Rule

              16(a)(1)(G), Fed.R.Crim.P., regarding disclosure of a written summary of the

              testimony of expert witnesses. No later than five (5) working days before

              trial (unless this deadline is modified upon good cause shown) the

              defendant(s) should comply with the reciprocal disclosure provisions

              concerning experts contained in Rule 16(b)(1)(C), Fed.R.Crim.P.

        C.    Within ten (10) working days from the filing of the Notice of Acceptance of

              General Discovery, the Government shall furnish the defendant(s) such copy




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              of his prior criminal records, if any, as is within the possession, custody, or

              control of the Government, the existence of which is known, or by the

              exercise of due diligence may become known, to the attorney for the

              Government.

        D.    The Government shall provide reasonable notice in advance of and at least

              ten (10) working days before trial the general nature of any evidence of other

              crimes, wrongs or acts which it intends to introduce at trial, either in its case

              in chief, for impeachment, or possible rebuttal, pursuant to Rule 404 (b),

              Fed.R.Evid. Such notice may be made during trial if the Court excuses

              pretrial notice on good cause shown.

        E.    Not later than five (5) working days before trial, the Government shall reveal

              to the defendant(s) all information and material known to the Government

              which may be favorable to the defendant(s) on the issue of guilt or

              punishment within the scope of Brady v. Maryland, 373 U.S. 83 (1963).

        F.    Where so stated, the Government shall exercise due diligence to make

              known the matters covered by this Order.

        G.    Upon compliance by the Government with Paragraphs A.5 and A.6 of this

              Order, the defendant(s), within five (5) working days after said compliance,

              shall permit the Government to inspect and copy or photograph:

              1.     Books, papers, documents, photographs, tangible objects, or copies

                     or portions thereof, which are within the possession, custody, or

                     control of the defendant(s), and which the defendant(s) intends to

                     introduce in his case in chief at trial; and




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              2.     Results or reports of physical or mental examinations and of scientific

                     tests or experiments made in connection with this case, or copies

                     thereof, within the possession or control of the defendant(s), which:

                     a.     the defendant(s) intends to introduce as evidence in his case in

                            chief at trial; or

                     b.     were prepared by a witness whom the defendant(s) intends to

                            call at the trial when the results or reports relate to that

                            witness' testimony.

        H.    If, prior to or during trial, a party discovers additional evidence or material

              previously required to be disclosed by Order of this Court, he shall promptly

              notify the attorney for the other party, or the defendant(s), if he or she is not

              represented by counsel, of the existence of the additional evidence or

              material.

        I.    In accordance with Rule 12.2, Fed.R.Crim.P., if the defendant(s) intends to

              rely upon the defense of insanity at the time of the alleged crime, or if he

              intends to introduce expert testimony relating to a mental disease, defect, or

              other condition bearing upon the issue of his mental state, he should comply

              with the notification procedure as set forth in said Rule within ten (10) working

              days of the date hereof.

        J.    In accordance with Rule 12.1, Fed.R.Crim.P., if the Government makes a

              written demand concerning an alibi, the defendant shall comply with the

              notification procedure set forth in said Rule within fourteen (14) working days

              from the service of said written demand. Upon receipt of the notice of alibi




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                 by the Government, the provisions of Rule 12.1(b), Fed.R.Crim.P., shall be

                 complied with.

         K.      The Court strongly encourages the Government to agree to produce Jencks

                 Act materials before required to do so to give defendant(s) sufficient time to

                 effectively utilize them in preparation for trial. In the typical case (where

                 there are no witness safety or other concerns), disclosure should be made at

                 least five (5) working days before trial (earlier disclosure may be appropriate

                 in a given case). The parties are also strongly encouraged, but not required,

                 to agree to a reciprocal witness list exchange five (5) working days before

                 trial.    (In any event, witness lists must be provided by all parties at the

                 commencement of trial.)

                          III. RULES - DISCOVERY BY WRITTEN MOTIONS

         If the defendant(s) elect not to accept Rules - Discovery Under Standing Order as

  stated in Part II, the defendant(s) shall file motions for Discovery within the time provided

  in Part I of this Order.

         DONE AND ORDERED at Jacksonville, Florida, this 22nd day of August, 2017.

                                                     PATRICIA D. BARKSDALE
                                                     United States Magistrate Judge

                                                     By: s/A. Loeschen
                                                         Deputy Clerk


  The Honorable Timothy J. Corrigan
  Counsel of Record
  United States Marshal
  United States Probation Office
  United States Pretrial Services Office




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